      Case: 1:21-cv-00135 Document #: 482 Filed: 10/17/22 Page 1 of 5 PageID #:9801




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                               )
                                               )
    In re: Clearview AI, Inc. Consumer         )   Case No. 1:21-cv-00135
    Privacy Litigation                         )
                                               )   Judge Sharon Johnson Coleman
                                               )   Magistrate Judge Maria Valdez
                                               )

                 CLEARVIEW DEFENDANTS’ MOTION FOR AN
         ORDER CONFIRMING THAT DISCOVERY AND PENDING DISCOVERY
             MOTIONS ARE STAYED PENDING THE RESOLUTION OF
            LOEVY & LOEVY’S ANTICIPATED MOTION TO INTERVENE

          Defendants Clearview AI, Inc., Rocky Mountain Data Analytics LLC, Thomas Mulcaire,

Hoan Ton-That, and Richard Schwartz (collectively, the “Clearview Defendants”), by their

undersigned counsel, respectfully file this motion for an order confirming that discovery and

pending discovery motions are stayed pending the resolution of Loevy & Loevy’s anticipated

motion to intervene and for appointment as lead class counsel (the “Motion to Intervene”).1 In

support of this motion, the Clearview Defendants state as follows:

          1.     On September 28, 2022, Plaintiffs’ interim lead class counsel, Mr. Drury, filed a

notice of change of law firm and address stating that he had left the law firm of Loevy & Loevy to

start his own firm, Drury Legal, LLC. (Dkt. 460.)

          2.     On October 4, 2022, counsel of record from Loevy & Loevy moved for leave to

withdraw their appearances on behalf of Plaintiffs. (Dkts. 462–67.) Later that day, the Court set

a status hearing for October 14, 2022. (Dkt. 470.)




1
  Counsel of record for the other parties have expressed no objections to this motion. All parties
reserve all rights, including without limitation as to fees, costs, or other prejudice.
   Case: 1:21-cv-00135 Document #: 482 Filed: 10/17/22 Page 2 of 5 PageID #:9802




       3.      During the October 14 status hearing, counsel from Loevy & Loevy, Jonathan I.

Loevy, stated his intention to file the Motion to Intervene on behalf of putative “class members

who want Loevy & Loevy to be lead class counsel.” (Ex. A, 10/14/22 Hr’g Tr. at 13:7–15.)

       4.      The Court set a deadline of October 21, 2022 for Loevy & Loevy’s anticipated

Motion to Intervene and a deadline of November 1, 2022 for Mr. Drury’s response. (Id. at 15:1–

13; Dkt. 481.) The Court also set a hearing for November 8, 2022 at 1:00 p.m. to address Loevy

& Loevy’s motion. (Id. at 15:15–16:2.)

       5.      When Mr. Drury raised the issue of how these developments would impact ongoing

discovery, including depositions that have already been scheduled and existing motion practice,

the Court stated that the parties “can stop that for . . . a couple of weeks” (id. at 16:20–21),

reasoning that it would be more efficient to first resolve the issues discussed at the conference (id.

at 17:5–7). The Court further stated that, if necessary, it would extend the current December 23,

2022 discovery deadline. (Id. at 16:23–17:1.)

       6.      To formalize the Court’s indication that the parties should pause their pending

discovery efforts while the Court resolves Loevy & Loevy’s forthcoming Motion to Intervene, the

Clearview Defendants seek an order confirming that any remaining discovery deadlines and

briefing schedules on any pending discovery motions are stayed.

       7.      “‘[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.’” Pfizer Inc. v. Apotex Inc., 640 F. Supp. 2d 1006, 1007 (N.D. Ill. 2009)

(quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). “In deciding whether to enter such a

stay, courts consider the following factors: (i) whether a stay will unduly prejudice or tactically

disadvantage the non-moving party, (ii) whether a stay will simplify the issues in question and




                                                  2
   Case: 1:21-cv-00135 Document #: 482 Filed: 10/17/22 Page 3 of 5 PageID #:9803




streamline the trial, and (iii) whether a stay will reduce the burden of litigation on the parties and

on the court.” Id.

       8.      Based on the Court’s statements during the October 14, 2022 status hearing, the

parties believe the Court intended to stay any remaining discovery deadlines and related briefing

schedules for pending motions, as well as any issues related to third-party subpoenas, while the

Court considers the anticipated Motion to Intervene. Out of an abundance of caution, the

Clearview Defendants file the present motion to clarify that was the Court’s intent.

       WHEREFORE, the Clearview Defendants respectfully request that the Court enter an order

confirming that during the October 14, 2022 status hearing, it stayed any remaining discovery

deadlines and related briefing schedules for pending motions, including but not limited to briefing

on the Clearview Defendants’ motion for protective order (Dkt. 471) and Plaintiffs’ motion for

discovery sanctions against the Clearview Defendants (Dkt. 474), as well as any issues related to

third-party subpoenas, until the Court issues an order on Loevy & Loevy’s anticipated Motion to

Intervene or at such other time as the Court may deem appropriate.


  Dated: October 17, 2022                     Respectfully submitted,

                                              By:        /s/ Precious S. Jacobs-Perry
                                                        Precious S. Jacobs-Perry (ARDC No.
                                                        6300096)
                                                        JENNER & BLOCK LLP
                                                        353 North Clark Street
                                                        Chicago, Illinois 60654
                                                        Phone: (312) 222-9350
                                                        pjacobs-perry@jenner.com




                                                    3
Case: 1:21-cv-00135 Document #: 482 Filed: 10/17/22 Page 4 of 5 PageID #:9804




                                         Lee Wolosky (pro hac vice)
                                         Andrew J. Lichtman (pro hac vice)
                                         JENNER & BLOCK LLP
                                         1155 Avenue of the Americas
                                         New York, New York 10036
                                         Phone: (212) 891-1600
                                         lwolosky@jenner.com
                                         alichtman@jenner.com

                                         Attorneys for Defendants Clearview AI, Inc.,
                                         Rocky Mountain Data Analytics LLC, Thomas
                                         Mulcaire, Hoan Ton-That, and Richard
                                         Schwartz




                                     4
   Case: 1:21-cv-00135 Document #: 482 Filed: 10/17/22 Page 5 of 5 PageID #:9805




                               CERTIFICATE OF SERVICE

       I hereby certify that on October 17, 2022, I electronically filed the foregoing using the

Court’s CM/ECF system, which effected service on all counsel of record.



                                            /s/ Precious Jacobs-Perry
                                            Precious Jacobs-Perry
